     Case 2:09-cr-00466-KJD-LRL     Document 159        Filed 10/20/11   Page 1 of 1




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 4                          UNITED STATES DISTRICT COURT
 5                                DISTRICT OF NEVADA
 6                                           ***
 7   UNITED STATES OF AMERICA,               )          2:09-CR-00466-PMP-LRL
                                             )
 8                   Plaintiff,              )
                                             )                 ORDER
 9   vs.                                     )
                                             )
10   LUIS MIGUEL SAGRERO-ALBA,               )
                                             )
11                                           )
                     Defendant.              )
12                                           )
13            On October 7, 2011, the Court granted Michael P. Kimbrell’s “Emergency
14   Ex-Parte Motion to Withdraw and for Appointment of New Counsel for Appeal.”
15   (Doc. #151). Therefore;
16            IT IS HEREBY ORDERED that Beau Sterling, Esq., is appointed in
17   place of Mr. Kimbrell for the purpose of appeal.
18            IT IS FURTHER ORDERED that Mr. Kimbrell shall forward the file to
19   Mr. Sterling forthwith.
20

21   DATED: October 20, 2011.
22

23
                                                 PHILIP M. PRO
24                                               United States District Judge
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